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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                  Case No. 00-40104-01-RDR

WILLIAM LEONARD PICKARD
and CLYDE APPERSON,

                 Defendants.


                             MEMORANDUM AND ORDER

     This matter is presently before the court upon the following

motions:   (1) defendants’ Rule 60(b) motion to correct defects in

the district court proceedings concerning unaddressed claims and

uncontested motions (Doc. # 637); and (2) defendants’ Rule 60(b)(2)

and 60(b)(3) motions based on newly discovered evidence (Doc. #

639).1   Having carefully reviewed the arguments of the parties, the

court is now prepared to rule.

     The defendants were convicted of conspiracy to manufacture



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       The defendants have recently filed a pleading entitled,
“Motion Regarding Uncontested Motion (Doc. 639).” In this motion,
defendants contend that the court should grant their Rule 60(b)
motion (Doc. # 639) because the government has failed to properly
respond to it.     They suggest that the response filed by the
government did not adequately address the issues they raised in the
motion. Therefore, they contend that the court should grant it as
uncontested. We disagree. The government has adequately responded
to the motion. The government has argued that the issues raised by
the defendants in Doc. # 639 cannot be considered under Rule 60(b)
and must be viewed as a second or successive motion under 28 U.S.C.
§ 2255.   This is an entirely proper response.     The defendants’
contention is frivolous. Accordingly, this motion shall be denied.
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lysergic acid diethylamide (LSD) in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(A), and 846, and one count of possession with

intent to distribute LSD in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(A).    Apperson was sentenced to thirty years’ imprisonment,

and Pickard received a life sentence.                  See United States v.

Pickard,   298    F.Supp.2d      1140   (D.Kan.   2003);    United   States    v.

Apperson, 298 F.Supp.2d 1149 (D.Kan. 2003).                The convictions and

sentences were affirmed by the Tenth Circuit.                  United States v.

Apperson, 441 F.3d 1162 (10th Cir. 2006), cert. denied, 549 U.S.

1117 (2007) and 549 U.S. 1150 (2007).             The defendants then filed

motions to vacate, set aside or correct sentence pursuant to 28

U.S.C. § 2255.     These motions were denied on April 6, 2009.            United

States v. Pickard, 2009 WL 939050 (D.Kan. 2009).                 The defendants

then filed notices of appeal.           On July 2, 2009, this court denied

defendants’      motions   for    certificates    of    appealability.         The

defendants subsequently filed the motions noted above as Doc. ##

637 and 639 on April 5, 2010.           Given the pending § 2255 motions,

the court declined to consider any of these matters. On October 5,

2010,   the   Tenth    Circuit      denied   defendants’        certificate    of

appealability on their § 2255 motions and dismissed their appeals.

United States v. Pickard, 2010 WL 3862877 (10th Cir. 2010).

     In the first Rule 60(b) motion [Doc. # 637], defendants raise

six arguments.        In the first five arguments, the defendants

contend, based upon Rules 60(b)(4) and (b)(6), that the court


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failed to do the following in considering their prior § 2255

motions:        (1)   address      certain     Brady    claims;     (2)    address

individually certain prosecutorial misconduct claims; (3) address

whether “good cause” existed for certain discovery requests; (4)

apply the two-step materiality analysis required by Kyles v.

Whitley, 514 U.S. 419 (1995); and (5) properly consider two motions

where    the   government    did   not   file    responses.        In   the   sixth

argument, the defendants assert that the court should consider the

previously “unaddressed Brady and prosecutorial misconduct claims”

in light of the recently discovered evidence described in the other

Rule 60(b) motion [Doc. # 639].              In the second Rule 60(b) motion

[Doc. # 639], the defendants contend, based upon Rules 60(b)(2) and

(3), that the court should (1) consider newly discovered evidence

of undisclosed FBI and IRS records; and (2) determine if the

government     committed     fraud,      misrepresentation        or    misconduct

concerning the aforementioned records.

        The government has responded that the first five arguments

raised by the defendants in Doc. # 637 can properly be considered

under Rule 60(b).       It, however, contends that each argument is

either moot or lacks merit.         The government asserts that the final

argument in Doc. # 637 and the arguments contained in Doc. # 639

are second or successive § 2255 claims and cannot be considered

under Rule 60(b).

        Federal Rule of Civil Procedure 60(b) provides that “[o]n


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motion and just terms, the court may relieve a party or its legal

representative from a final judgment, order, or proceeding for the

following reasons:

     (1) mistake, inadvertence, surprise, or excusable
     neglect;
     (2) newly discovered evidence that, with reasonable
     diligence, could not have been discovered in time to move
     for a new trial under Rule 59(b);
     (3) fraud (whether previously called intrinsic or
     extrinsic), misrepresentation, or misconduct by an
     opposing party;
     (4) the judgment is void;
     (5) the judgment has been satisfied, released, or
     discharged; it is based on an earlier judgment that has
     been reversed or vacated; or applying it prospectively is
     no longer equitable; or
     (6) any other reason that justifies relief.

     Congress, in the passage of the Antiterrorism and Effective

Death Penalty Act of 1996 (“AEDPA”), placed various restrictions on

habeas petitions.       Second or successive habeas petitions may

proceed only in specified circumstances and only with a circuit

court’s prior authorization.       See 28 U.S.C. §§ 2244(b), 2255(h).

In Gonzales v.Crosby, 545 U.S. 524 (2005), the Supreme Court

provided guidance on the interplay between Fed.R.Civ.P. 60(b) and

the AEDPA rules on second or successive motions under 28 U.S.C. §

2254. The Gonzales analysis has been applied to § 2255 proceedings

as well.   United States v. Nelson, 465 F.3d 1145, 1147 (10th Cir.

2006).

     A Rule 60(b) motion is to be treated as a successive habeas

petition if it:    (1) “seeks to add a new ground of relief;” or (2)

“attacks the federal court’s previous resolution of a claim on the

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merits.”     Gonzales, 545 U.S. at 532.            The Supreme Court defined

“claim” as “an asserted federal basis for relief from a state

court’s judgment of conviction.”             Id. at 530.      The Court defined

“on the merits” as “a determination that there exist or do not

exist grounds entitling a petitioner to habeas corpus relief.” Id.

at 532 n. 4.     The Court clarified that

       [w]hen a movant asserts one of those grounds (or asserts
       that a previous ruling regarding one of those grounds was
       in error) he is making a habeas corpus claim. He is not
       doing so when he merely asserts that a previous ruling
       which precluded a merits determination was in error-for
       example, a denial for such reasons as failure to exhaust,
       procedural default, or statute-of-limitations bar.

Id.

       In Spitznas v. Boone, 464 F.3d 1213, 1215-16 (10th Cir. 2006),

the Tenth Circuit summarized Gonzales as follows:

       Under Gonzalez, a 60(b) motion is a second or successive
       petition if it in substance or effect asserts or
       reasserts a federal basis for relief from the
       petitioner's underlying conviction. Conversely, it is a
       “true” 60(b) motion if it either (1) challenges only a
       procedural ruling of the habeas court which precluded a
       merits determination of the habeas application; or (2)
       challenges a defect in the integrity of the federal
       habeas proceeding, provided that such a challenge does
       not itself lead inextricably to a merits-based attack on
       the disposition of a prior habeas petition.

       Based on the foregoing framework, the court in this case must

first assure itself that it has subject matter jurisdiction over

each    of   defendants’   claims   by       examining   each     of   defendants’

contentions and determining whether each is, in effect, a habeas

claim or an allegation regarding a defect in the integrity of the


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federal habeas proceedings.           Even if one or more of defendants’

allegations does constitute a proper Rule 60(b) claim, however,

defendants must still demonstrate “‘extraordinary circumstances'

justifying    the   reopening    of    a    final    judgment,”        and    “[s]uch

circumstances will rarely occur in the habeas context.”                     Gonzales,

545 U.S. at 534.

      In the present motions, the defendants appear to allege both

procedural and substantive errors in this court’s denial of their

§ 2255 motions.     As correctly pointed out by the government, the

first five arguments contained in Doc. # 637 fall within the scope

of a Rule 60(b) motion.         These are allegations of “defect in the

integrity of the federal habeas proceedings” rather than the

“substance of the federal court’s resolution of a claim on the

merits,” and should not be converted into a second or successive

habeas petition.      See id. at 532.

      Nevertheless, the court finds that defendants are not entitled

to any relief under Rule 60(b) for these allegations because they

either lack merit or are moot.          The court shall initially turn to

defendants’    contention     that     this    court       failed      to    make   an

individualized assessment of certain Brady claims and prosecutorial

misconduct claims in their original § 2255 motions.                         The court

wants to make clear that it carefully considered each of the Brady

and   prosecutorial    misconduct      claims       made   by    the    defendants.

However, the court simply determined that the matters noted by the


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defendants did not rise to the level of a Brady violation or a due

process violation because they were immaterial and the defendants

received a fair trial.       The court found it unnecessary to examine

each item individually because the overall assessment would have

been unchanged.     The Tenth Circuit, in denying the defendants’

certificate of appealability, noted that it was “not persuaded that

the district court failed to address any of [defendants’] claims.”

Moreover, the Court concluded:              “With regard to the issues the

district   court   denied    on   the       merits,   [defendants]     have     not

demonstrated a reasonable probability that the outcome would have

been different if they had been provided with more impeachment

evidence.”   In sum, the court finds that these issues are either

moot, as correctly argued by the government, or are without merit.

     The court next turns to the third ground for relief argued by

the defendants.    The defendants contend that the court failed to

address whether “good cause” existed for each discovery request

they made concerning their claim of prosecutorial misconduct.

Again, the court finds that this claim lacks merit because the

court did consider all of defendant’s prosecutorial misconduct

allegations in considering their discovery requests.                   The court

stated:

     Having considered all of the materials provided to the
     court, the court is not persuaded that the defendants
     have demonstrated that they are entitled to the discovery
     they have sought. The court does not believe that the
     defendants have shown good cause for the discovery of
     these materials, in light of the aforementioned

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       discussion on their Brady/Giglio claim. Petitioners have
       not shown that, if the facts are fully developed on their
       claims, they may be able to demonstrate they are entitled
       to relief. They, therefore, have not shown good cause
       for discovery. See Bracy [v.Gramley], 520 U.S. [899] at
       908-09 [(1997)]; Wallace v. Ward, 191 F.3d 1235, 1245
       (10th Cir. 1999), cert. denied, 530 U.S. 1216 (2000).

Pickard, 2009 WL 939050, at *19.

       Moreover, the court finds that this claim is moot because the

court has determined that defendants’ prosecutorial misconduct

claims were without merit and were moot due to the Tenth Circuit’s

decision      on   the   defendants’   application      for     certificate      of

appealability.

       The defendants next argue that the court failed to apply the

two-step materiality analysis set forth in Kyles in considering

their Brady and prosecutorial misconduct claims.                Again, the court

finds no merit to this contention.         The court again notes         it found

that    the    Brady     and   prosecutorial      misconduct       claims       were

cumulatively immaterial.        The court applied Kyles in its opinion,

but found that the defendants had received a fair trial. The court

finds no error on this issue in the § 2255 order.

       The defendants also contend that the court failed to properly

consider two motions where the government failed to file responses.

Some background is necessary on this issue. Following the issuance

of the court’s order on the defendants’ § 2255 motions, the

defendants filed a motion to expand the record and a motion for

disclosure of limited FBI records.            Before the court could timely


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consider these motions, the defendants filed notices of appeal.

The filing of the appeals divested this court of jurisdiction.

Thus, this court’s lack of jurisdiction rendered a response by the

government    unnecessary.      The       Tenth   Circuit      recognized      this

principle    in   its   order   denying      defendants’       certificate      of

appealability.    Recently, following the Tenth Circuit’s denial of

the certificate of appealability, the court denied these motions as

moot.    Thus, this contention clearly lacks merit and is also moot.

        With these decisions, the court shall finally consider the

remaining contention in Doc. # 637 and the allegations raised in

Doc. # 639. The arguments are overlapping. The defendants contend

in Doc. # 639 that the court should consider (1) newly discovered

evidence of undisclosed FBI and IRS records; and (2) determine if

the government committed fraud, misrepresentation or misconduct

concerning the aforementioned records.            In his sixth argument in

Doc. # 637, the defendant asserts that the court should consider

the previously “unaddressed Brady and prosecutorial misconduct

claims” in light of the recently discovered evidence described in

his other Rule 60(b) motion [Doc. # 639].

        The remaining allegation contained in Doc. # 637 and the

entirety of the allegations in Doc. # 639 clearly invite further

review of the substantive habeas claims already decided on the

merits and, thus, must be treated as a second or successive habeas

petition requiring authorization by the Tenth Circuit Court of


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Appeals, 28 U.S.C. § 2244(b)(3).         Absent such authorization, this

court has no jurisdiction to consider such claims.              Spitznas, 464

F.3d at 1216-17.    In the circumstances presented here, where some

allegations are properly considered under Rule 60(b) and others are

subject to treatment as second or successive § 2255 claims, the

court should consider the Rule 60(b) claims and then transfer the

remaining substantive claims to the Tenth Circuit pursuant to 28

U.S.C. § 2244(b)(3).    See In re: Clemmons, 279 Fed.Appx. 648, 650-

51 (10th Cir. 2008).

     In reaching the foregoing conclusions, the court was not

persuaded that the recent case from the District of New Jersey,

United States v. Pelullo, 2010 WL 2629080(D.N.J. 2010), relied upon

by the defendants requires a different result.               In Pelullo, the

court considered a motion for bail pending disposition of a Rule

60(b) motion.      In considering that motion, the court examined

whether   the   defendant’s   allegations     in   the   Rule    60(b)    could

properly be decided under Rule 60(b) or constituted claims that

needed to be alleged in a second § 2255 motion.              Pelullo, 2010 WL

2629080 at * 14.       The court concluded, under the particular

circumstances of that case, that it possessed jurisdiction to

proceed under Rule 60(b).         Id. at *15.         The defendants have

suggested that the circumstances here are similar and this court

should apply the reasoning of the judge in Pelullo.                 We simply

cannot agree.    Initially, this court notes that it is not bound by


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a district court ruling in New Jersey.                Moreover, we do not find

the reasoning of Pelullo persuasive.             The court believes it has

properly applied the teachings of Gonzales and Spitznas to the Rule

60(b) motion filed by the defendants.

     IT IS THEREFORE ORDERED that defendants’ Rule 60(b) motion to

correct   defects   in   the    district      court    proceedings       concerning

unaddressed claims and uncontested motions (Doc. # 637) be hereby

denied on the first five grounds for relief.

     IT IS FURTHER ORDERED that defendants’ Rule 60(b) motion to

correct   defects   in   the    district      court    proceedings       concerning

unaddressed claims and uncontested motions (Doc. # 637) be hereby

transferred to the Tenth Circuit Court of Appeals pursuant to 28

U.S.C. § 2244(b)(3) for consideration of the sixth ground for

relief.

     IT IS FURTHER ORDERED           that     defendants’       motion    regarding

uncontested motion (Doc. # 652) be hereby denied.

     IT IS FURTHER ORDERED          that defendants’ Rule 60(b)(2) and

60(b)(3) motions based on newly discovery evidence (Doc. # 639) be

hereby transferred to the Tenth Circuit Court of Appeals pursuant

to 28 U.S.C. § 2244(b)(3).

     IT IS SO ORDERED.

     Dated this 24th day of January, 2011 at Topeka, Kansas.


                                     s/Richard D. Rogers
                                     United States District Judge

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